
—Proceeding pursu*563ant to CPLR article 78 in the nature of mandamus, inter alia, to direct the respondents to expunge certain records, and application by the petitioner to prosecute the proceeding as a poor person.
Ordered that the application to prosecute the proceeding as a poor person is granted to the extent that the filing fee imposed by CPLR 8022 (b) is waived, and the application is otherwise denied; and it is further,
Adjudged that the petition is denied and the proceeding is dismissed, without costs or disbursements.
The extraordinary remedy of mandamus will lie only to compel the performance of a ministerial act and only when there exists a clear legal right to the relief sought (see Matter of Legal Aid Socy. of Sullivan County v Scheinman, 53 NY2d 12, 16 [1981]). The petitioner has failed to demonstrate a clear legal right to the relief sought. Santucci, J.P., Miller, Leventhal and Hall, JJ., concur.
